          Case 1:22-cv-00475-BAH Document 20 Filed 03/29/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 GANNETT SATELLITE INFORMATION
 NETWORK, LLC,

                        Plaintiff,                         Civil Action No. 22-cv-475 (BAH)

                        v.                                 Judge Beryl A. Howell

 U.S. DEPARTMENT OF JUSTICE,

                        Defendant.


                                             ORDER

        Upon consideration of defendant U.S. Department of Justice’s Motion for Summary

Judgment, ECF No. 12, and plaintiff Gannett Satellite Information Network’s Cross-Motion for

Summary Judgment, ECF No. 13, regarding whether defendant’s withholding pursuant to

Exemption 3 of the Freedom of Information Act is improper, the related legal memoranda in

support and in opposition, the exhibits and declarations attached thereto, and the entire record

herein, for the reasons set forth in the accompanying Memorandum Opinion, it is hereby

        ORDERED that, plaintiff’s Cross-Motion for Summary Judgment, ECF No. 13, is

GRANTED as to defendant’s withholding, pursuant to Exemption 3 of the Freedom of

Information Act, 5 U.S.C. § 552(b)(3), which withholding is improper; it is further

        ORDERED that defendant’s Motion for Summary Judgment, ECF No. 12, is DENIED;

and it is further

        ORDERED that, by April 12, 2023, the parties shall submit a joint status report advising

the Court whether any disputes remain between the parties, and, if so, proposing a schedule to

govern further proceedings.



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 Case 1:22-cv-00475-BAH Document 20 Filed 03/29/23 Page 2 of 2




SO ORDERED.

Date: March 29, 2023
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                                   BERYL A. HOWELL
                                   District Judge




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